Case 2:04-cv-03058-SHI\/|-dkv Document 10 Filed 08/19/05 Page 1 of 2 Page|D 13

   

HHI)BY“ HM_DC.
IN THE UNITED STATES DISTRICT COURT

FoR THE WESTERN DISTRICT oF TENNESSEE 05 5 z
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CLEHK, U.S. *“;*T’%€CT
LAMAR SALTER' JR- » w,@ 0-? a §1§.\\¥-#.¥>1§1%%
Plaintiff,
VS. NO. 04-3058-Mav

CNA GROUP LIFE ASSURANCE COMPANY,

Defendant.

 

ORDER REFERRING CASE FOR SETTLEMENT CONFERENCE

 

On August 12, 2005, the plaintiff filed an unopposed motion
requesting that the court refer this matter to the magistrate
judge to conduct a settlement conference. For good cause shown,
the motion is granted and this matter is referred to Magistrate
Judge Diane Vescovo for a settlement conference at a time to be
determined by the magistrate judge.

It is so ORDERED this /?Liay of August, 2005.

y/M.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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BASS BERRY & SIMS PLC
100 Peabody Place

Ste. 900

1\/1emphis7 TN 38103

David A. Thornton

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/1emphis7 TN 38103

Daniel L .1 ohnson

JOHNSON COCKE & BRANDON
254 Court Ave.

Ste. 300

1\/1emphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

